Case 2:85-cv-04544-DMG-AGR Document 733 Filed 03/26/20 Page 1 of 6 Page ID #:34040



     1   CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
     2   Peter A. Schey (58232)
         Carlos R. Holguín (90754)
     3   256 South Occidental Boulevard
     4   Los Angeles, CA 90057
         Telephone: (213) 388-8693
     5   Email: pschey@centerforhumanrights.org
     6
         Attorneys for Plaintiffs
     7
         Additional counsel listed on following page
     8
     9
    10
                                    UNITED STATES DISTRICT COURT
    11
                                CENTRAL DISTRICT OF CALIFORNIA
    12
                                          WESTERN DIVISION
    13
    14
    15   Jenny Lisette Flores., et al.,                Case No. CV 85-4544-DMG-AGRx

    16                    Plaintiffs,                  Ex Parte Application for Temporary
                                                       Restraining Order and Order to
    17         v.                                      Show Cause re: Preliminary
    18                                                 Injunction.
         William Barr, Attorney General of the
    19   United States, et al.,
                                                       Hearing: None set
    20                    Defendants.
                                                       Judge: Hon. Dolly M. Gee
    21
    22
    23
    24
    25
    26
    27
    28

                                                              EX PARTE APPLICATION FOR TRO AND OSC RE
                                                                             PRELIMINARY INJUNCTION
                                                                                  CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 733 Filed 03/26/20 Page 2 of 6 Page ID #:34041



     1   Counsel for Plaintiffs, continued
     2   USF SCHOOL OF LAW IMMIGRATION CLINIC
         Bill Ong Hing (Cal. Bar No. 61513)
     3
         2130 Fulton Street
     4   San Francisco, CA 94117-1080
         Telephone: (415) 422-4475
     5
         Email: bhing@usfca.edu
     6
         LA RAZA CENTRO LEGAL, INC.
     7   Stephen Rosenbaum (Cal. Bar No. 98634)
     8   474 Valencia Street, #295
         San Francisco, CA 94103
     9   Telephone: (415) 575-3500
    10
         UNIVERSITY OF CALIFORNIA DAVIS
    11   SCHOOL OF LAW
         Immigration Law Clinic
    12
         Holly S. Cooper (197626)
    13   One Shields Avenue, TB 30
    14   Davis, CA 95616
         Telephone: (530) 754-4833
    15   Email: hscooper@ucdavis.edu
    16
         THE LAW FOUNDATION OF SILICON VALLEY
    17   Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
         Katherine H. Manning (Cal. Bar No. 229233)
    18
         Annette Kirkham (Cal. Bar No. 217958)
    19   4 North Second Street, Suite 1300
         San Jose, CA 95113
    20
         Telephone: (408) 280-2437
    21   Email: kate.manning@lawfoundation.org
    22   Of counsel:
    23   ALDEA - THE PEOPLE’S JUSTICE CENTER
    24   Bridget Cambria
         532 Walnut Street
    25   Reading, PA 19601
    26   Phone: (484) 877-8002
         Fax: (484) 926-2032
    27   Email: bridget.cambria@cambriaklinelaw.com
    28

                                              ii        EX PARTE APPLICATION FOR TRO AND OSC RE
                                                                       PRELIMINARY INJUNCTION
                                                                            CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 733 Filed 03/26/20 Page 3 of 6 Page ID #:34042



     1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
     2            PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 65 and Local Rule
     3   7- 19, Plaintiffs in the above-captioned matter, hereby apply ex parte to this Court
     4   for a temporary restraining order (“TRO”) and for issuance of an order to show
     5   cause why a preliminary injunction should not issue. This ex parte application is

     6   based upon this Application, the accompanying Memorandum of Points and

     7   Authorities, the concurrently-filed Declaration of Class Counsel Peter Schey and all
         exhibits thereto, all papers on file in this action, and any oral argument of counsel
     8
         the Court may hear. The Memorandum of Points and Authorities in support of this
     9
         Application is filed herewith.
    10
                  The Plaintiffs bring this application on an ex parte basis because, as
    11
         described in the memorandum filed herewith, by continuing to detain Class
    12
         Members in congregate detention facilities in the face of the COVID-19 pandemic
    13
         and public health national emergency, including in unlicensed facilities, and failing
    14
         to make and record continuous efforts aimed at their release to available custodians,
    15
         or unreasonably delaying such efforts, and failing to provide reasons why class
    16
         members who are neither flight risks nor a danger are not being released,
    17   Defendants violate the Flores Agreement (“Agreement”) approved by this court on
    18   January 28, 1997. As a result, Class Members (and the public) face grave risk to
    19   their health and lives that is in need of immediate attention in order to avoid further
    20   loss of life.
    21            Plaintiffs respectfully submit that ex parte relief is appropriate given that the
    22   facts set forth in the attached memorandum and its supporting papers evidence that
    23   immediate and irreparable injury will result to Plaintiffs before opposition can be
    24   heard.
    25                   Statement of Compliance with Rule with Civil Local Rule 7-19
    26            Counsel for Defendants are:
    27   JOSEPH H. HUNT
    28   Assistant Attorney General

                                                                   EX PARTE APPLICATION FOR TRO AND OSC RE
                                                     -1-                          PRELIMINARY INJUNCTION
                                                                                       CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 733 Filed 03/26/20 Page 4 of 6 Page ID #:34043



     1   Civil Division
     2   WILLIAM C. PEACHEY
         Director, District Court Section
     3   Office of Immigration Litigation
     4   WILLIAM C. SILVIS
         Assistant Director, District Court Section
     5   Office of Immigration Litigation
     6   SARAH B. FABIAN
         Senior Litigation Counsel, District Court Section
     7   NICOLE MURLEY
     8   Office of Immigration Litigation
         P.O. Box 868, Ben Franklin Station
     9   Washington, D.C. 20044
    10   Tel: (202) 532-4824
         Fax: (202) 305-7000
    11   Emails: sarah.b.fabian@usdoj.gov
    12   Nicole.Murley@usdoj.gov
    13
               Pursuant to Civil Local Rule 7-19.1 and Fed. R. Civ. P. 65, counsel for the
    14
         Plaintiffs informed counsel for Defendants of the substance and date of this ex parte
    15   application. Declaration Of Peter Schey In Support Of Ex Parte Application For
    16   Temporary Restraining Order and Order To Show Cause Re: Preliminary
    17   Injunction ¶¶ 6-7. On March 22, 2020, Plaintiff sent a letter to counsel for
    18   Defendants outlining the grave risk posed to Class Members by continuing to house
    19   them in congregate care as well as the relief Plaintiff intended to request through an
    20   application for a TRO. Id. On March 23 and 24, 2020, the parties met and conferred
    21   telephonically. Id. Counsel for Defendants informed Plaintiffs that Defendants
    22   would oppose the application for a TRO. Id. To date, Defendants have not taken
    23   any action to expedite resolution of this dispute which is endangering the health and
    24   lives of children at ORR facilities. Id.
    25
    26
    27
    28

                                                    2          EX PARTE APPLICATION FOR TRO AND OSC RE
                                                                              PRELIMINARY INJUNCTION
                                                                                   CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 733 Filed 03/26/20 Page 5 of 6 Page ID #:34044



     1   Dated: March 26, 2020             CENTER FOR HUMAN RIGHTS AND
     2                                     CONSTITUTIONAL LAW
                                           Peter A. Schey
     3                                     Carlos R. Holguin
     4
                                           USF SCHOOL OF LAW IMMIGRATION
     5                                     CLINIC
     6                                     Bill Ong Hing

     7                                     LA RAZA CENTRO LEGAL, INC.
     8                                     Stephen Rosenbaum
     9                                     UNIVERSITY OF CALIFORNIA DAVIS
                                           SCHOOL OF LAW
    10
                                           Immigration Law Clinic
    11                                     Holly S. Cooper
    12                                     THE LAW FOUNDATION OF SILICON
    13                                     VALLEY
                                           LEGAL ADVOCATES FOR CHILDREN
    14                                     AND YOUTH
    15                                     Jennifer Kelleher Cloyd
                                           Katherine H. Manning
    16
                                           Annette Kirkham
    17
    18                                     Of counsel:

    19                                     ALDEA - THE PEOPLE’S JUSTICE CENTER
                                           Bridget Cambria
    20
    21
                                                 /s/ Peter Schey
    22
                                           Peter A. Schey
    23                                     Attorneys for Plaintiffs
    24
    25
    26
    27
    28

                                              3          EX PARTE APPLICATION FOR TRO AND OSC RE
                                                                        PRELIMINARY INJUNCTION
                                                                             CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 733 Filed 03/26/20 Page 6 of 6 Page ID #:34045



     1                                CERTIFICATE OF SERVICE
     2
     3
                  I, Peter Schey, declare and say as follows:
     4
                  I am over the age of eighteen years of age and am not a party to this action. I
     5
         am employed in the County of Los Angeles, State of California. My business
     6
         address is 256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and
     7
         state.
     8
               On March 26, 2020, I electronically filed the following document(s):
     9      Ex Parte Application for Temporary Restraining Order and Order to
    10   Show Cause re: Preliminary Injunction.
    11   with the United States District Court, Central District of California by using the
    12   CM/ECF system. Participants in the case who are registered CM/ECF users will be
    13   served by the CM/ECF system.
    14
                                                                       /s/Peter Schey
    15                                                                 Attorney for Plaintiffs
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                                      4          EX PARTE APPLICATION FOR TRO AND OSC RE
                                                                                PRELIMINARY INJUNCTION
                                                                                     CV 85-4544-DMG-AGRX
